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17

18                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
19
      IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
20
      LIABILITY LITIGATION
21                                                     Case No. 16-md-02741-VC

22    This document relates to:                        PLAINTIFFS’ NOTICE OF
      Hardeman v. Monsanto Co., et al.,                MOTION AND MOTION IN
23
      3:16-cv-0525-VC;                                 LIMINE NO. 1 TO EXCLUDE
24    Stevick v. Monsanto Co., et al.,                 ANY EVIDENCE OR
      3:16-cv-02341-VC;                                REFERENCE THAT
25    Gebeyehou v. Monsanto Co., et al.,               COMPARES THE AMOUNT OF
      3:16-cv-5813-VC                                  ROUNDUP USE TO NHL
26
                                                       INCIDENCE OVER TIME TO
27                                                     DISPROVE CAUSATION
                                                 1
28
         PLAINTIFFS’ MOTION IN LIMINE NO. 1 TO EXCLUDE ANY EVIDENCE OR REFERENCE THAT
         COMPARES THE AMOUNT OF ROUNDUP USE TO NHL INCIDENCE OVER TIME TO DISPROVE
                                             CAUSATION
             Case 3:16-md-02741-VC Document 2588 Filed 01/30/19 Page 2 of 7



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     TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
3
     PLEASE TAKE NOTICE THAT beginning on February 13, 2019 in Courtroom 4 of the United
4
     States District Court, Northern District of California, located at 450 Golden Gate Avenue, San
5
     Francisco, CA 94102, or as ordered by the Court, Plaintiffs will move in limine to exclude any
6
     evidence or reference that compares the amount of Roundup use to NHL incidence over time to
7
     disprove causation. A supporting memorandum is filed herewith.
8
     Dated: 1/30/2019                                   Respectfully submitted,
9

10                                                      /s/ Aimee Wagstaff
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        PLAINTIFFS’ MOTION IN LIMINE NO. 1 TO EXCLUDE ANY EVIDENCE OR REFERENCE THAT
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1
                         MEMORANDUM OF POINTS AND AUTHORITIES
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            I.      Legal Standard.
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            “Although the Federal Rules of Evidence do not explicitly authorize in limine rulings, the
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     practice has developed pursuant to the district court’s inherent authority to manage the course of
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     trials.” Luce v. United States, 469 U.S. 38, 41 n. 4 (1984). The court has broad discretion to rule
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     on evidentiary questions raised in motions in limine. Jenkins v. Chrysler Motors Corp., 316 F.3d
7
     663, 664 (7th Cir. 2002). A court should grant a motion in limine excluding evidence when the
8
     movant shows that the evidence is “‘clearly inadmissible on all potential grounds.’” Matrix Int’l
9

10
     Textile, Inc. v. Monopoly Textile, Inc., No. CV160084FMOAJWX, 2017 WL 2929376, at *1

11   (C.D. Cal. May 12, 2017).

12          Moreover, rulings on motions in limine are, by definition, preliminary, and the trial judge

13   may adjust the court’s ruling on a motion in limine during the course of a trial as the case

14   unfolds. Ohler v. United States, 529 U.S. 753, 758 n. 3, 120 S.Ct. 1851, 1854 n. 3 (2000).

15   Accordingly, the parties may renew their objections at trial as appropriate. That said, rulings in
16   limine help the parties understand what is likely to be admissible at trial, which facilitates trials
17   and preparation.
18          II.     Argument.
19          Some of Monsanto’s experts rely on data which, according to these experts, render
20   association between exposure to glyphosate based formulations (“GBFs”) and non-Hodgkin’s
21
     lymphoma (“NHL”) implausible because of a stabilization and eventual decline of the incidence
22
     of NHL with increased use of GBFs over time. See, e.g., First Fleming Rept. at 7 (looked at
23
     glyphosate use in the U.S. and “compared this to the overall incidence of NHL (SEER9) from
24
     1975 through 2014.”); Levine Rept. at 12 (stating in conclusory terms, without more, that “[i]f
25
     glyphosate were the cause of NHL…the incidence of these lymphomas would have increased
26
     statistically between 2004 and the present time.”). This purported expert testimony is irrelevant,
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         PLAINTIFFS’ MOTION IN LIMINE NO. 1 TO EXCLUDE ANY EVIDENCE OR REFERENCE THAT
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     misleading, scientifically unreliable, and unduly prejudicial and confusing when weighed against
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     its probative value because it may lead the jury to believe that a speculative correlation
3
     demonstrates lack of causation. As one commentator notes, such arguments “bear[] a
4
     remarkable resemblance to that put forward by tobacco companies in the 1960s – that deaths
5
     from respiratory and cardiac causes had been falling from 1900 through to the 1960s and life
6
     expectancy rising, all during a period when cigarette consumption was on the rise.”1
7
             Plaintiffs will establish at trial that epidemiological, genotoxicity, and toxicological
8
     studies, when viewed in totality and with application of the Bradford Hill factors, demonstrate
9

10
     association between exposure to GBFs and NHL, with increased risk following larger

11   quantity/duration of exposure. Monsanto’s proffered evidence regarding stabilization or

12   decrease in national NHL incidence with increased use of GBFs does nothing to “make the

13   existence of [this] fact . . . more probable or less probable than it would be without the evidence”

14   or “assist the trier of fact to understand evidence or to determine a fact in issue.” Fed. R. Evid.

15   702. It amounts to nothing more than demonstration of a correlation, failing to bridge the wide
16   gap between a correlated fact and a causal one.
17           “If scientific, technical, or other specialized knowledge will assist the trier of fact to
18   understand the evidence or to determine a fact in issue” an expert “may testify thereto.” Fed. R.
19   Civ. Proc. 702. “Scientific” implies a grounding in the methods and procedures of science.
20   Daubert v. Merrell Dow Pharmaceuticals, Inc., 113 S.Ct. 2786, 589-590 (1993). The word
21
     “knowledge” connotes more than subjective belief or unsupported speculation. Id. Here,
22
     Monsanto’s experts’ inference of a lack of association between exposure to GBFs and NHL
23

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25    See Tobacco and the Health of the Nation at
     http://legacy.library.ucsf.edu/cgi/getdoc?tid=dxb34f00&fmt=pdf&ref=results and Smoking and Health
26   Proposal at http://legacy.library.ucsf.edu/tid/rgy93f00, 690010954 (“Doubt is our product since it is the
     best means of competing with the ‘body of facts’ that exists in the mind of the general public. It is also the
27   means of establishing a controversy…”).
                                                 2
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         PLAINTIFFS’ MOTION IN LIMINE NO. 1 TO EXCLUDE ANY EVIDENCE OR REFERENCE THAT
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     based on ecological data is sheer speculation and, thus, inadmissible. As the Reference Manual
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     states, “ecological studies of exposure and disease are ‘far from conclusive’ because of lack of
3
     data on confounding variables as well as…possible aggregation bias… such studies rarely
4
     provide definitive causal answers” at 266, fn. 130, 561 (internal quotations omitted). Even “less
5
     reliable” are specific types of ecological data such as “secular-trend studies (also known as time-
6
     line studies)” which “compare disease rates over time and focus on disease rates before and after
7
     a point in time when some even of interest took place.” Reference Manual at 562.
8
            For example, Monsanto’s expert, Dr. William Fleming, merely compared the “estimated
9

10
     agricultural use for glyphosate” up to the year 2000 with the NHL incidence rate by U.S. county

11   between 2008 and 2012. See First Fleming Rept. at 8. Dr. Fleming did not consider the

12   demographic differences between the geographical regions which impact the rate of NHL, the

13   effect on NHL rates (decline) precipitated by management of the AIDS crisis, and failed to

14   control for any other variable in his visual comparison of two maps. See Fleming Depo. at

15   90:10-12 (“I didn’t control for variables.”).2 Moreover, without any reliable basis, Dr. Fleming
16   assumed that the latency for NHL is between 8 and 12 years when generating his two maps
17   demonstrating Roundup use (up to 2000) and NHL incidence (2008-2012), respectively. See id.
18   at 173:9-17 (stating that the basis for his latency opinion was that it was “not unreasonable.”).
19   Only speculation can tie such an analysis to an opinion regarding causation. In any event, such a
20   conclusion is scientifically unsupportable since it reflects a correlation, not a basis for deriving
21
     any causal conclusions. Peters v. AstraZeneca LP, 224 F. App’x 503, 507 (7th Cir. 2007) (citing
22
     with approval case from Fifth Circuit which upheld “exclusion of expert causation testimony
23
     based solely upon studies showing a mere correlation between defendant’s product and
24

25

26   2
      The very charts relied upon by Dr. Fleming in his report demonstrate the dip in NHL incidence
     following successful treatment of the AIDS virus. See First Fleming Rept. at 4. However, Dr. Fleming
27   utterly failed to consider this variable in his “analysis.”
                                                 3
28
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     plaintiff’s injury.”); Reference Manual at 561-62 (discussing the use of ecological studies as a
2
     starting point for further research, and not a basis for deriving conclusions regarding causation).
3
            Because this “evidence” does not and cannot prove, and is not even probative of, non-
4
     causation (or causation for that matter), the evidence is irrelevant. It is akin to arguing that,
5
     during the period in which NHL incidence declined, Starbucks consumption increased; ergo
6
     Starbucks consumption decreases risk of NHL. It is nothing more than correlation—and there
7
     are correlations everywhere. Such evidence and testimony should not be given to the jury which
8
     may be inclined to indulge this logical fallacy in the presence of “expert” testimony. This is
9

10
     precisely the type of “evidence” contemplated by the rules as appropriate for exclusion. The

11   probative value of this “evidence” is small given that no scientifically reliable conclusion can be

12   drawn from it; however, it could hold great weight with the jury. Accordingly, Plaintiffs

13   respectfully request that the Court enter an order barring Monsanto from presenting any

14   argument, testimony, or evidence that national NHL rates decreased with greater use of GBFs or

15   that NHL rates were increasing at a time when use of GBFs was not as prominent.
16          III.    Conclusion.
17          Based on the foregoing, Plaintiffs respectfully request that the Court enter an Order
18   granting this motion in limine and excluding any evidence or reference that compares the amount
19   of Roundup use over time to NHL incidence to disprove causation.
20   Dated: 1/30/2019                                       Respectfully submitted,
21
                                                            /s/ Aimee Wagstaff
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12                                                      Plaintiffs’ Co-Lead Counsel

13

14                                  CERTIFICATE OF SERVICE
15          I certify that on January 30, 2019, I electronically filed the foregoing document with the
16   Clerk of the Court using the CM/ECF system, which will send notification of such filing to the
17   CM/ECF participants registered to receive service in this MDL.
18

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